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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISION

JOHN DOE #1-#14 and JANE DOE
#1-#2,

      Plaintiffs,

v.                                              Case No. 3:21-cv-1211-AW-HTC


LLOYD AUSTIN, III, in his official
capacity as Secretary of Defense, et al.,

Defendants.

________________________/

                 JOINT MOTION FOR PROTECTIVE ORDER

      Plaintiffs, John Doe #1-#14 and Jane Doe #1-#2, and Defendants, Lloyd

Austin, III, in his official capacity as Secretary of Defense, et al., pursuant to Federal

Rule of Civil Procedure 26(c), and in accordance with the Northern District of

Florida Local Rules, request that this Court enter the attached Protective Order. 1

                                         Respectfully submitted,

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1
 Defendants reserve the right to oppose Plaintiffs’ Ex Parte Motion for Leave for
Plaintiffs to Proceed Anonymously. See ECF No. 4.
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